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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,                               CRIMINAL NO: 1:20-cr-010
           Plaintiff,
     vs.                                                    DEFENDANT’S
CASEY RAY GANTT,                                          MOTION TO EXTEND
     Defendant.                                            PLEA DEADLINE



                   COMES NOW the Defendant, by and through his attorney, Joseph J.
Hrvol, P. C., and states:
                   1.       Defendant’s plea entry deadline is set for August 7, 2020 (Doc 59).
                   2.       The Defendant and the Government have been engaged in
meaningful plea negotiations which are ongoing.
                   3.       Counsel is advised that the next available court service day after
August 4 is August 21, 2020.
                   4.       The parties require additional time to reach a plea agreement.
                   5.       The Government does not object to an extension of time.
                   WHEREFORE, the Defendant respectfully requests that the plea entry
deadline be extended to August 21, 2020, to accommodate the Court and allow the parties
additional time to reach a plea agreement.
                                                  Respectfully submitted,

                                                  /S/     Joseph J. Hrvol, P. C.
                                                  JOSEPH J. HRVOL, P.C., P01-000-7493
                                                  541 6th Avenue, Council Bluffs, IA 51503
                                                  712-322-0133, FAX: 712-322-9421
                                                  ATTORNEY FOR THE DEFENDANT


CERTIFICATE OF SERVICE:

I HEREBY CERTIFY THAT, ON AUGUST 4, 2020, I ELECTRONICALLY FILED THE FOREGOING WITH THE CLERK OF
COURT USING THE ECF SYSTEM, WHICH WILL SEND NOTIFICATION OF SUCH FILING TO THE FOLLOWING: ASSISTANT
UNITED STATES ATTORNEY SHELLY M. SUDMANN, AND ANY AND ALL OTHER ATTORNEYS OF RECORD.

/S/ JOSEPH J. HRVOL, P.C., P01-000-7493
